                    UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE


HOPE BROWN                                             )
                                                       )
v.                                                     )               NO. 2:06-CV-51
                                                       )               (NO. 2:03-CR-74)
UNITED STATES OF AMERICA                               )               Judge Greer
                                                       )


                               MEMORANDUM OPINION

               Hope Brown (“petitioner” or Brown”), a federal prisoner, has filed a

“Motion to Vacate, Set Aside or Correct Sentence Pursuant to 28 USC § 2255.” [Doc.

1]. Subsequent to the filing of her motion, Brown filed a 29 page untitled pleading

which the Court construes as a memorandum of law, [Doc. 9], a “Supplement For

Purposes For Record Clarification,” [Doc. 10], and a motion to amend her petition.

[Doc. 11].1 Her motion to amend petition was granted by the Magistrate Judge on

January 19, 2007.

        The United States has responded in opposition to the motion [Doc. 5] and the

matter is now ripe for disposition. The Court has determined that the motion and

record of prior proceedings in the case conclusively establish that the petitioner is not


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           The petitioner also filed a motion in her criminal case entitled “Motion To Correct
Miscalculation Of Sentencing Guideline Level 93 CR 1274" [Doc. 450]. That motion was denied by
order entered on May 14, 2007, and is no significance to the pending motion except that Brown also
raised many of the ineffective assistance of counsel claims in that document as well.



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 entitled to relief under § 2255 and, therefore, no evidentiary hearing is necessary. For

 the reasons which follow, the petitioner’s § 2255 motion lacks merit, and the motion

 will be denied.

I.      Procedural and Factual Background

              Brown was one of 14 defendants indicted by the federal grand jury on

September 23, 2003, in a 205 count indictment charging various drug, money

laundering, and illegal wire transfer offenses. Brown was charged in Counts 2, 3, 99,

100, 107, 120-22, 172-74 and 177. She pled guilty on December 13, 2004, to Counts

2 and 13 of the indictment, i.e., conspiracy to distribute and possess with the intent to

distribute 50 grams or more of cocaine base (Count 2) and conspiracy to launder

monetary instruments (Count 3).

        A presentence report (“PSR”) was ordered and disclosed to the parties on

February 5, 2005. Based upon a total offense level of 33 and a criminal history

category of I, Brown’s advisory guideline range was 135 to 168 months of

imprisonment. There were no objections to the PSR. On June 27, 2005, after a

sentencing hearing, the Court varied downward and imposed a sentence of 120 months.

Judgment was entered on July 11, 2005, and no direct appeal was taken. The instant §

2255 motion was timely filed on March 9, 2006.

        At the time of the entry of petitioner’s guilty plea, certain facts were stipulated


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to by the petitioner in connection with her plea:

               Through the testimony of several witnesses, to include
               coconspirators, the government would demonstrate, beyond
               a reasonable doubt, that from approximately the month of
               January, 2000, and continuing to on or about September 23,
               2003, the defendant did knowingly, intentionally and
               without authority conspire with at least one other person to
               distribute and possess with the intent to distribute at least 500
               grams but less than 1.5 kilograms of a mixture or substance
               containing a detectible amount of cocaine base (crack), a
               Schedule II, controlled substance.2

               In furtherance of the conspiracy, defendant Brown
               distributed crack cocaine that she obtained from
               coconspirator Darryl McCrae. During the period between
               March and October, 2002, defendant Brown obtained two to
               four ounces of crack cocaine every two to three days from
               Darryl McCrae. In addition to distributing crack cocaine
               defendant sent drug proceeds via Western Union to Darryl
               McCrae. Finally, defendant Brown and a coconspirator
               traveled from the Eastern District of Tennessee to North
               Carolina to pick up supplies of crack cocaine that she
               transported back to Tennessee for further distribution.
               Defendant Brown made two trips per week during a three
               month period, picking up between nine and twenty-two
               ounces at a time.

               During the investigation law enforcement agents conducted
               a trash pull from defendant Brown's residence and recovered
               baggies with corners missing, paperwork of drug debt
               records, and paperwork showing residence ownership and
               a letter asking her mother to put the residence in another


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           Although Brown’s base offense level was determined by her stipulation limiting her
responsibility to 1.5 kilograms, it appears that her involvement was actually much greater (two to four
ounces every two to three days for eight months).

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               name.3

               Also during the investigation, law enforcement agents made
               four purchases of crack cocaine, totaling 2.04 grams, from
               defendant Brown in recorded and surveilled transactions.
               During one of the transactions a confidential informant,
               acting at the directions of law enforcement agents, paid
               Brown $50.00 toward a previous drug debt.

       Additionally, the PSR contained the following unobjected to facts:

               According to Special Agent Rainer Drolshagen, of the
               Federal Bureau of Investigation, agents became aware of the
               members of the conspiracy in early 2000. Through the use
               of informants and confidential sources, it was determined
               that co-defendants Garrett Johnson, Gary McCrae, and Darrel
               McCrae, were obtaining cocaine base (crack) from North
               Carolina, and selling the drug to various distributors in the
               Johnson City area. These individuals were charged with
               engaging in a continuing criminal enterprise. Agent
               Drolshagen verified that coconspirators had independently
               provided information that defendant Brown was involved by
               assisting Darrell McCrae in his drug distribution activity and
               wiring money for McCrae for drug debts. The defendant
               became involved in the conspiracy based on her addiction to
               the drugs, and stated she was involved for a period of six
               months. She admitted traveling to North Carolina on
               occasion to pick up crack cocaine, and assisting in the
               distribution activities. Based upon the above information,
               the defendant will be held accountable for her involvement
               in the distribution of 500 grams to 1.5 kilograms of crack
               cocaine.

III.   Standard of Review

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            Brown alleges in her § 2255 motion that she “did not purchase any drugs for distribution, only
for her personal use.” Both the quantity of crack cocaine purchased by her from McCrae and the items
found in the “trash pull” from Brown’s residence contradict this claim.

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             This Court must vacate and set aside petitioner’s conviction upon a finding

that “the judgment was rendered without jurisdiction, or that the sentence imposed was

not authorized by law or otherwise open to collateral attack, or that there has been such

a denial or infringement of the constitutional rights of the prisoner as to render the

judgment vulnerable to collateral attack, . . .” 28 U.S.C. § 2255(b). Under Rule 8(a)

of the Rules Governing Section 2255 Proceedings In The United States District Courts,

the Court is to review the answer, any transcripts, and records of prior proceedings and

any material submitted under Rule 7 to determine whether an evidentiary hearing is

warranted.

      When a defendant files a § 2255 motion, she must set forth facts which entitle her

to relief. Green v. Wingo, 454 F.2d 52, 53 (6th Cir. 1972); O’Malley v. United States,

285 F.2d 733, 735 (6th Cir. 1961). “Conclusions, not substantiated by allegations of fact

with some probability of verity, are not sufficient to warrant a hearing.” Green, 454

F.2d at 53; O’Malley, 285 F.2d at 735 (citations omitted). A motion that merely states

general conclusions of law without substantiating allegations with facts is without legal

merit. Loum v. Underwood, 262 F.2d 866, 867 (6th Cir. 1959); United States v.

Johnson, 940 F. Supp. 167, 171 (W.D. Tenn. 1996).

             To warrant relief under 28 U.S.C. § 2255 because of constitutional error,

the error must be one of constitutional magnitude which had a substantial and injurious


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effect or influence on the proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637

(1993) (citation omitted) (§ 2254 case); Clemmons v. Sowders, 34 F. 3d 352, 354 (6th

Cir. 1994); see also United States v. Cappas, 29 F.3d 1187, 1193 (7th Cir. 1994)

(applying Brecht to a § 2255 motion). To warrant relief for a nonconstitutional error

requires a showing of a fundamental defect in the proceedings that resulted in a

complete miscarriage of justice or an egregious error inconsistent with the rudimentary

demands of fair procedure. Reed v. Farley, 512 U.S. 339 (1994); Grant v. United

States, 72 F. 3d 503, 506 (6th Cir. 1996), cert. denied, 517 U.S. 1200 (1996).

III.   Analysis and Discussion

       Brown has filed numerous documents related to her § 2255 motion, including

a 29 page memorandum in support of the motion. Her pleadings are confusing, difficult

to understand, and, in many cases, simply a series of citations to, and quotes from,

various court decisions with no effort to relate them specifically to her case. As best the

Court can discern, Brown raises claims of ineffective assistance of both appointed and

retained counsel. She also attacks the reasonableness of her sentence.

       Brown’s sole allegation against appointed counsel is stated as follows: “The

defendant could not obtain any advice, assistance or communication with him while he

was her counselor.” After retaining counsel, Brown states that her retained counsel “did

in fact state that attorney Cowden had done infutable [sic] damage to the defendant’s


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case in regards to motions of discovery materials and talks with the U.S. Attorney’s

office without the presence of the defendant.” Petitioner’s claims of ineffective

assistance of retained counsel relate to counsel’s alleged failure to (1) address a

downward departure under USSG § 5K2.12 (diminished capacity); (2) obtain a

psychiatric evaluation to aid her at sentencing; (3) seek a reduction in offense level for

her “minor role” in the offense; (4) seek relief pursuant to USSG § 2D1.1 (safety valve)

and; (5) seek a downward departure pursuant to USSG § 5K1.1 for substantial

assistance. Brown also alleges that she received assurance from counsel that her

exposure at sentencing would be a maximum of five years of imprisonment.

      A.     Ineffective Assistance of Counsel

      In Strickland v. Washington, 466 U.S. 668 (1984), the Supreme Court established

the criteria for determining whether a Sixth Amendment claim of ineffective assistance

of counsel is meritorious. The Strickland test requires that a defendant demonstrate two

essential elements:    (1) counsel’s performance was deficient, i.e., counsel was not

functioning as counsel guaranteed the defendant by the Sixth Amendment, and (2)

counsel’s deficient performance prejudiced the defendant, i.e., deprived the defendant

of a fair trial rendering the outcome of the trial unreliable. Id. at 687-88.

      There is a strong presumption that counsel’s conduct was within the wide range

of reasonable professional assistance and that conduct cannot be viewed in hindsight,


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but must be evaluated for reasonableness within the context of the circumstances at the

time of the alleged errors. Id. at 689-90. A defendant’s challenge to such decisions

must overcome a presumption that the challenged actions might be considered sound

trial strategy. McQueen v. Scroggy, 99 F.3d 1302, 1311(6th Cir. 1996); O’Hara v.

Wigginton, 24 F.3d 823, 828 (6th Cir. 1994).

      When a defendant challenges her guilty plea, to establish the prejudice prong, she

must demonstrate that without counsel’s alleged errors, she would not have pled guilty,

but would have insisted on standing trial. Hill v. Lockhart, 474 U.S. 52, 56, 59 (1985).

To demonstrate a reasonable probability that she would have gone to trial, a defendant

is required to present evidence apart from a bare assertion that but for counsel’s error

she would have pleaded not guilty and gone to trial. See Parry v. Rosemeyer, 64 F.3d

110, 118 (3rd Cir. 1995). “[R]eviewing court[s] must remember that ‘counsel is

strongly presumed to have rendered adequate assistance and made all significant

decisions in the exercise of reasonable professional judgment.’ ” Wong v. Money, 142

F.3d 313, 319 (6th Cir. 1998), quoting Strickland, 466 U.S. at 690. “An error of

counsel, even if professionally unreasonable, does not warrant setting aside the

judgment of a criminal proceeding if the error had no effect on the [ultimate]

judgment.” Id. at 691.

      1. Ineffective Assistance of Appointed Counsel


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       As set forth above, petitioner asserts that her appointed attorney “had done

infutable [sic] damage to the defendant’s case in regards to motions of discovery

materials and talks with the U.S. Attorney’s office without the presence of the

defendant.” She also argues that his “advice, assistance or communications” were

deficient. Brown’s allegations against her appointed counsel are insufficient on their

face. When a petitioner files a § 2255 motion, she must set forth facts that entitle her

to relief. Brown has set forth no facts in support of this claim and it is, therefore,

insufficient and without merit.

       2. Diminished Capacity and the Need for a Psychiatric Evaluation

       Petitioner asserts that counsel was constitutionally ineffective for failing to seek

a downward departure pursuant to USSG § 5K2.12,4 a departure she alleges would be

“plain and evident” in her case.               While Brown acknowledges that she is not

“permanently mentally incapitated [sic]” she does allege that “she was temporarily

under such a stage of depression she could not reasonably understand the magnitude of

her criminal activity.” She further alleges that she was addicted to crack cocaine due

to her severe depression and that a “psychiatric evaluation would have been beneficial

to her defense.”


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          Petitioner was sentenced under the 2003 version of the United States Sentencing Guidelines.
Section 5K2.12 in the applicable guideline manual dealt with a downward departure for coercion and
duress. Petitioner apparently erroneously refers to § 5K2.12, when in fact she is referring to § 5K2.13.

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      USSG § 5K2.13 provides for a downward departure for diminished capacity.

Under the guidelines section, a below guidelines sentence may be warranted if (1) the

defendant committed the offense while suffering from a significantly reduced mental

capacity; and (2) the significantly reduced mental capacity contributed substantially to

the commission of the offense. The court may not depart, however, if (1) the

significantly reduced mental capacity was caused by the voluntary use of drugs or other

intoxicants; (2) the facts and circumstances of the defendant’s offense indicate a need

to protect the public because the offense involved actual violence or a serious threat of

violence; (3) the defendant’s criminal history indicates a need to incarcerate the

defendant to protect the public; or (4) the defendant has been convicted of certain

enumerated offenses. USSG § 5K2.13. The application note found in the commentary

to § 5K2.13 defines “significantly reduced mental capacity” as “a significantly impaired

ability to (A) understand the wrongfulness of the behavior comprising the offense or

to exercise the power of reason; or (B) control behavior that the defendant knows is

wrongful.” USSG § 5K2.13, app. note 1.

      Brown has alleged no facts which would indicate her entitlement to the

downward departure provided by § 5K2.13. She makes no allegation that she could not

understand the wrongfulness of her behavior, only that “she could not reasonably

understand the magnitude of her criminal activities.” (emphasis added). In other


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words, Brown has not pled sufficient facts to suggest that she suffered from a

significantly reduced mental capacity as required by § 5K2.13. Even if she had, the

guideline, on its face, excludes significantly reduced mental capacity caused by the

voluntary use of drugs. This, too, would appear to exclude her from the purview of the

section.

      Likewise, Brown has pled no facts which would indicate that a psychiatric

evaluation would, in any way, have aided her at her sentencing hearing. She alleges

that she suffered from depression, a fact which was noted in the PSR and reiterated by

her counsel at the time of sentencing. Thus, it appears that the Court was fully apprised

of the petitioner’s depression and her drug addiction, and her counsel addressed these

issues both in the sentencing memorandum filed on Brown’s behalf and orally at the

sentencing hearing. Petitioner cannot meet either prong of the Strickland standard as

to this claim. She has not demonstrated that counsel was deficient or that she was

prejudiced by counsel’s failure to move for a downward departure based upon

diminished capacity or in counsel’s failure to seek a psychiatric evaluation. Given that

the Court was fully aware of petitioner’s depression and drug addiction, she cannot

show that any action on the part of her counsel would have altered the outcome of the

case or led the Court to select a lower sentence. Her claim lacks merit.

      3. Minor Role Adjustment


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         Brown argues that her role in the offense covered a period of “six (6) short

months”, that her participation in the conspiracy was motivated by her drug addiction

and that she realized “no monetary gain thru cash, property or other tangible items ...”

She also notes that she had no prior history of arrests and that she is not a threat to

society.5 In reality, it appears that petitioner is simply arguing the reasonableness of

her sentence. All of these factors were made known to the Court through both the PSR

and her attorneys filings and argument to the Court. These factors were considered by

the Court at the time of imposition of sentence and petitioner cannot establish either

prong of the Strickland standard with respect to this claim. This claim is also without

merit.

         4. Safety Valve

         Next, petitioner complains that her retained attorney “failed to apply to the courts

for the defendant to obtain the safety valve. . .” She argues that she was clearly eligible

for safety valve treatment in the case. Petitioner’s claim here is completely contradicted

by the record. The PSR includes a reduction in offense level based upon the safety

valve and both the United States Attorney and the Court acknowledged at the time of

sentencing that petitioner met the safety valve criteria and that, as a result, the minimum


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          Petitioner’s claim that she has no prior arrests or history of criminal activity is incorrect. The
PSR indicates that she was convicted of the misdemeanor offense of possession of marijuana in 1976 and
misdemeanor convictions for a worthless check in 1996 and again in 2003.

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mandatory sentence would not apply. The Court noted, during the sentencing hearing,

that the advisory guideline range in the case, however, was “driven” by the calculations

on the money laundering conviction, thus rendering the safety valve largely irrelevant

except to the extent that the Court was given discretion to sentence below the otherwise

applicable mandatory minimum sentence.

      The statutory mandatory minimum sentence applicable to the drug conspiracy

conviction played no role in the petitioner’s sentence in this case. The Court clearly

acknowledged that petitioner was qualified for the safety valve and noted, on the record,

that the mandatory minimum sentence would not apply. Thus, the petitioner cannot

show that her counsel was deficient in any way, nor can she establish any prejudice, and

her safety valve argument is devoid of merit.

      5. Substantial Assistance

      Brown argues that her counsel was ineffective for failing to seek a downward

departure pursuant to USSG § 5K1.1for substantial assistance. Brown’s plea agreement

in this case provided for her cooperation with the government and further provided that

the United States would bring the nature, extent, and value of her cooperation to the

attention of the Court at the time of sentencing. The agreement further provided that

“[i]f, in the sole discretion of the United States, the defendant provides substantial

assistance, the United States will make a motion for downward departure pursuant to


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5K1.1 of the Sentencing Guidelines or 18 U.S.C. § 3553(e), or both, with the District

Court allowing the District Court to impose a sentence which may fall below the

minimum mandatory term of imprisonment or below the sentencing guidelines.” Plea

agreement, ¶ 8.

      At the beginning of Brown’s sentencing hearing, the United States announced to

the Court that Brown had in fact attempted to provide information to the United States

but that the information never rose to the level of what was required for substantial

assistance. Likewise, Brown’s counsel acknowledged to the Court that Brown was

unable to provide substantial assistance “because she doesn’t know the interworkings

of the conspiracy.”

      Petitioner pleads no facts which establish her entitlement to a downward

departure motion under § 5K1.1. The record in this case establishes that the United

States apprised the Court of the limited nature of Brown’s cooperation and that her

attorney argued to the Court that she “was willing and able to do anything” to assist the

government but that she simply had no additional information to offer. Petitioner’s

counsel also argued to the Court during the sentencing hearing that it was unfair for the

more heavily involved conspirators to receive the benefit of a motion for downward

departure when the least culpable, such as Brown, had little to offer in the way of

cooperation. The record reflects that all these arguments were considered by the Court,


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including the government’s recommendation that Brown be sentenced at the bottom of

the applicable guideline range in view of her attempted cooperation. Brown can show

no deficient performance on the part of her attorney, nor can she show any prejudice by

any omission of counsel. This claim, therefore, provides no basis for relief.

      5. Counsel’s Representations as to Sentence

      Brown alleges that she was led to believe by defense counsel that her sentence

in this case would be a maximum of five years. According to Brown, “this figure was

based solely on what [counsel] related personally to Brown in the sentencing

memorandum.” As an initial matter, Brown has offered no facts to support her

allegation that any kind of assurance was given by counsel as to the sentence she would

receive. Moreover, the record in this case contradicts Brown’s assertion and establishes

quite clearly that Brown understood that she was not assured of receiving any particular

sentence under her plea agreement with the government.

      In that plea agreement, Brown acknowledged that the Court could “impose any

lawful term of imprisonment up to the statutory maximum” and that the maximum

penalty to which she would be exposed was a term of life imprisonment. Plea

Agreement, ¶¶ 1(a),(2). She further acknowledged in her plea agreement that the

District Court would determine the appropriate sentence and that “this determination

will be based upon the entire scope of the defendant’s criminal conduct, criminal


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history, and pursuant to other factors and guidelines set forth in the Sentencing

Guidelines.” Id., ¶ 7. She also acknowledged that her attorney had “fully explained the

nature of the charges, the potential penalties, and any defenses that she might have.”

Id., ¶ 11. The plea agreement further provided that there were no other agreements,

promises or understandings between the defendant and the United States that were not

set out in the written plea agreement. Id., ¶ 20.

      Additionally, during the plea colloquy, Brown acknowledged under oath that she

fully understood all the terms and conditions of her plea agreement, that she understood

the required mandatory minimum term of imprisonment as well as the maximum

statutory penalty, that she understood that the sentence for her case could not be

determined until a PSR was prepared, and that she understood that the Court had the

authority to impose a sentence more severe than the sentence called for in the

guidelines. Furthermore, during the change of plea hearing, the Court specifically asked

defense counsel whether he had made any representations to the defendant as to what

sentence the Court might impose and defense counsel indicated that he had not. Brown,

under oath, acknowledged that counsel had not made any representations to her as to

what sentence she might receive.

      Brown appears to rely on the sentencing memorandum filed by counsel on her

behalf in support of her argument. While counsel clearly advocated a five year term of


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imprisonment for the defendant in both his sentencing memorandum and in his

argument to the Court at the time of sentencing, there is simply nothing in the

defendant’s sentencing memorandum prepared by counsel which could conceivably be

read as an assurance of a five year sentence. This Court finds any assertion by Brown

that counsel represented to her that she would receive a five year sentence to lack

credibility and to be, in fact, contradicted by the record. This claim lacks merit.

        B.     Reasonableness of Defendant’s Sentence

        Throughout her numerous pleadings, petitioner makes a host of claims that her

sentence in this case is unreasonable. She references the “totality of circumstances and

the disparity of like defendants”,6 argues that there was no need to protect the public

from future crimes she might commit, argues that her conduct was “aberrant behavior”

and generally argues that her sentence is excessive in light of the circumstances of the

case.

        She also suggests that the Court may have felt constrained to impose a guideline


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           Brown argues in her motion that the average prison term imposed for her co-conspirators was
52 months and that their sentences ranged “from 48 to 78 months.” Brown’s PSR flatly contradicts her
claim. For instance, co-defendant Sean Barber was sentenced to a term of 136 months imprisonment, co-
defendant Travis Jacobs was sentenced to 264 months, co-defendant Gary McCrae was sentenced to 288
months, co-defendant Candy Odom was sentenced to 132 months and co-defendant Shawn Darnell Clark
was sentenced to 84 months.
            In addition, Brown’s disparity argument does not address disparity created by prosecutorial
discretion concerning charging decisions, downward departure for substantial assistance and the like. Her
attorney did argue at sentencing that it was unfair for more culpable defendants to receive lighter
sentences because they had more information to provide to the government, an argument the Court
considered but rejected.

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sentence because Booker had been decided only recently prior to sentencing. A review

of the transcript of the sentencing hearing disputes these claims. The transcript clearly

establishes that the Court understood that the guidelines were advisory and that the

mandatory minimum sentence did not apply because of Brown’s safety valve eligibility.

The Court considered each of the relevant § 3553(a) factors and, in fact, varied

downward somewhat from the low end of the guideline range based upon certain of the

arguments made by defendant’s counsel on her behalf. The petitioner pleads no facts

in support of her argument which were not considered by the District Court at the time

of sentencing.

      Furthermore, Brown has procedurally defaulted any challenge as to the

reasonableness of her sentence by her failure to file a direct appeal. A petitioner is

procedurally barred from raising claims in a § 2255 motion, even those of constitutional

magnitude, to which no contemporaneous objection was made or which were not

presented on direct appeal. United States v. Frady, 456 U.S. 152 (1982). Where a

petitioner has procedurally defaulted a claim by failing to raise it on direct review, the

claim may be raised in a motion under § 2255 only if the defendant first demonstrates

either cause for the default and actual prejudice or that she is actually innocent. Bousley

v. United States, 523 U.S. 614, 622 (1998). The petitioner here makes no claim of

actual innocence, only that she should be entitled to a resentencing to a lower sentence.


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Likewise, she makes no effort to establish any cause for the procedural default nor does

she show any prejudice as a result. This claim also is without merit.

       Throughout these confusing pleadings filed by Brown, she raises various other

claims of ineffective assistance of counsel in a conclusory manner without any factual

or legal development. As a result, the Court declines to consider any of these claims.7

IV.    Conclusion

       For the reasons set forth above, the Court holds petitioner’s conviction and

sentencing were not in violation of the Constitution or laws of the United States.

Accordingly, her motion to vacate, set aside or correct her sentence pursuant to 28

U.S.C. § 2255 will be DENIED and her petition DISMISSED.

               Under 28 U.S.C. § 2253(c)(2), the Court must decide whether a certificate

of appealability should be granted.              A certificate should issue if petitioner has

demonstrated a “substantial showing of a denial of a constitutional right.” 28 U.S.C.

§ 2253(c)(2).      The Sixth Circuit Court of Appeals disapproves of the issuance of

blanket denials of a certificates of appealability. Murphy v. Ohio, 263 F. 3d 466 (6th

Cir. 2001). The District Court must “engage in a reasoned assessment of each claim”

to determine whether a certificate is warranted. Id. at 467.                    Each issue must be

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           For instance, Brown, in her motion to amend, alleges that counsel “failed to properly preserve
constitutional claims during sentencing.” She pleads no facts, however, to support her allegation, nor
does she identify the constitutional claims. In the same category are Brown’s claims that her attorney
erroneously advised her not to appeal and that he did not spend enough time with her.

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considered under the standard set forth by the Supreme Court in Slack v. McDaniel, 529

U.S. 473, (2000). Id.

              Under Slack, to warrant a grant of the certificate, “[t]he petitioner must

demonstrate that reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong.” Having examined each of the petitioner’s

claims under the Slack standard, the Court finds that reasonable jurists could not find

that this Court’s dismissal of petitioner’s claims was debatable or wrong. Therefore,

the Court will deny petitioner a certificate of appealability as to each issue raised by her.

              A separate order will enter.

              ENTER:



                                                      s/J. RONNIE GREER
                                                  UNITED STATES DISTRICT JUDGE




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